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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

)
)
v. ) Case No. 21-CR-036
)
)
)

GINA M. BISIGNANO
MOTION FOR CLARIFICATION OF COUNSEL
TO THE HONORABLE CARL J. NICHOLS, JUDGE OF SAID COURT:

A. Charles Peruto, Jr., Esquire, files this Motion for Clarification of Counsel, requesting
that the Court schedule a Zoom conference, in the above captioned case, with Assistant United
States Attorney Kim Paschall (“AUSA Paschall”), the Defendant, Gina M. Bisignano
(“Bisignano” or “Defendant”), and present defense counsel, A. Charles Peruto, Jr. (“Counsel” or
“Peruto”), and in support thereof, avers as follows:

1. On March 1, 2021, A. Charles Peruto, Jr., Esquire entered his appearance as pro hac vice
counsel on behalf of Defendant in the above referenced case.

2. Subsequent to entering his appearance, and up until the date of this Motion, the
Defendant has written in excess of ten (10) letters to defense counsel criticizing his approach to
the case.

3. The Defendant has written to the federal prosecutor, AUSA Paschall, dismissing Mr.
Peruto as her attorney and expressing several complaints about how defense counsel has handled
the case,

4, It is unclear how the Defendant wants to proceed as she is asking the Court for thirty (30)
days to find a private lawyer to represent her, while simultaneously requesting court appointed

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counsel, for which she qualifies.

5. The United States and Mr. Peruto have engaged in negotiations regarding stipulations and
scheduling for the upcoming trial, however, the Defendant has “ordered” Mr. Peruto not to speak
on her behalf,

6. This Motion is supported and signed by Robert L. Jenkins, Jr., Esquire, an active and
sponsoring member of the Bar of this Court, and A. Charles Peruto, Jr., Esquire, pro hac vice
counsel.

WHEREFORE, for these reasons, we pray that this Honorable Court will schedule a
brief Zoom conference hearing, with all parties present, to address this matter soon in order to
ensure a smooth transition to new lawyer, and so that the trial date may stay intact.

Respectfully submitted,
BYNUM & JENKINS

DATED: 6/12/23 By:  /s/Robert L. Jenkins, Jr.
ROBERT L, JENKINS, ESQUIRE
DC Bar No.: CQ0003
1010 Cameron Street
Alexandria, VA 22314
(703) 309-0899
RJenkins@Bynum AndJenkinsLaw.com

DATED: 6/12/23 LAW OFFICES OF A. CHARLES PERUTO, JR.

By:  48/A. Charles Peruto, Jr.
A. CHARLES PERUTO, JR., ESQUIRE
Present Counsel for the Defendant — pro hac vice
Pa. Bar. No. 30634
2016 Spruce Street
Philadelphia, Pa 19103
(215) 735-1010
acperuto@gmail.com

 

 
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IN THE UNITED STATES DISTRICT COURT
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GINA M. BISIGNANO
CERTIFICATE OF SERVICE
I hereby certify on the 12" day of June 2023, a copy of same was electronically filed
using the CM/ECF system, and thus delivered to the parties of record, and pursuant to the rules
of the Clerk of Court:

Kimberly L. Paschall

Assistant United States Attorney
D.C, Bar No. 1015665

555 4th Street, N.W.

Room 4116

Washington, D.C, 20530

Phone: (202) 252-2650

Email: Kimberly. Paschall@usdoj.gov

DATED: 6/12/23 LAW OFFICES OF A. CHARLES PERUTO, JR.

By: = /A. Charles Peruto, Jr.
A. CHARLES PERUTO, JR., ESQUIRE
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